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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


JAMES THOMAS, individually and on                )
behalf of all others similarly situated,         )
                                                 )     Case No.
               Plaintiff,                        )
                                                 )
       v.                                        )     JURY TRIAL DEMANDED
                                                 )
TAMPA BAY RAYS BASEBALL                          )
LTD, a Florida limited partnership,              )
                                                 )
               Defendant.                        )
                                                 )

                                 CLASS ACTION COMPLAINT

       Plaintiff James Thomas (“Plaintiff”) brings this Class Action Complaint against

Defendant Tampa Bay Rays Baseball Ltd (“Defendant”), on behalf of himself and all others

similarly situated, and complains and alleges upon personal knowledge as to himself and his own

acts and experiences, and, as to all other matters, upon information and belief, including

investigation conducted by his attorneys.

                            I.    NATURE OF THE ACTION

       1.      Defendant Tampa Bay Rays Baseball Ltd operates a Major League Baseball team,

the Tampa Bay Rays, based in St. Petersburg, Florida. In an effort to market Tampa Bay Rays

baseball games, Defendant sent (or directed to be sent on its behalf) unsolicited text messages to

the wireless telephones of Plaintiff and each of the members of the Class without prior express

written consent in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et seq.

(“TCPA”).

       2.      Neither Plaintiff nor the other Class members ever consented in writing,

authorized, desired or permitted Defendant to send text messages to their wireless telephones.
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        3.      By sending such unauthorized text messages, Defendant caused Plaintiff and each

of the Class members actual harm, including violation of privacy, the aggravation and nuisance

that necessarily accompanies the receipt of unsolicited text messages, and the monies paid to

their wireless carriers for the receipt of such messages.

        4.      In order to redress these injuries, Plaintiff seeks: (a) an injunction requiring

Defendant to cease all unsolicited text message activities; (b) an award of statutory damages to

the Class members under the TCPA; and (c) an award of reasonable attorneys’ fees and costs.

                          II.    JURISDICTION AND VENUE

        5.      This Court has original jurisdiction over Count I pursuant to 28 U.S.C. § 1331,

because it arises under the laws of the United States.

        6.      The Court has personal jurisdiction over Defendant because it is located in and

conducts substantial business within this District.

        7.      Venue is proper in this District, pursuant to 28 U.S.C. § 1391(b)(1), because

Defendant resides in this District. Venue is also proper under 28 U.S.C. § 1391(b)(2), because a

substantial part of the events or omissions giving rise to this action. Further, venue is proper

pursuant to 28 U.S.C. § 1391(b)(3) because Defendant is subject to this District’s personal

jurisdiction.

                                     III.    PARTIES

Plaintiff

        8.      Plaintiff James Thomas is an individual domiciled in Pinellas County, Florida.

Defendant

        9.      Defendant Tampa Bay Rays Baseball Ltd is a limited partnership organized in and

existing under the laws of the State of Florida with its principal place of business located at

Tropicana Field, One Tropicana Drive, St. Petersburg, Florida 33705.

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       10.     Defendant maintains a registered agent, John P. Higgins, located at Tropicana

Field, One Tropicana Drive, St. Petersburg, Florida 33705.

                            IV.   FACTUAL BACKGROUND

Background on Unsolicited SMS Activity

       11.     In recent years, marketers who have often felt stymied by federal laws limiting

solicitation by telephone, fax machine, and e-mail have increasingly looked to alternative

technologies through which to send bulk solicitations cheaply.

       12.     One of the most prevalent alternatives is bulk advertising through so-called Short

Message Services. “Short Message Services” or “SMS” is a messaging system that allows for the

transmission and receipt of short text messages (usually no more than 160 characters) to and

from wireless telephones.

       13.     SMS messages are directed to a wireless device using the telephone number

assigned to the device. When an SMS message is successfully made, the recipient’s wireless

phone rings, alerting him or her that a message is being received. As wireless telephones are

inherently mobile and are frequently carried on their owner’s person, SMS messages may be

received by the called party virtually anywhere in the world.

       14.     According to a study conducted by the Pew Research Center, “Spam isn’t just for

email anymore; it comes in the form of unwanted text messages of all kinds—from coupons to

phishing schemes—sent directly to user’s cell phones.”1 In fact, “57% of adults with cell phones

have received unwanted or spam text messages on their phone.”2




       1
          Amanda Lenhart, Cell Phones and American Adults: They Make Just as Many Calls,
but       Text    Less      than      Teens,     Pew     Research      Center      (2010),
http://www.pewinternet.org/Reports/2010/Cell-Phones-and-American-Adults.aspx (last visited
September 3, 2015).
        2
          Id.
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       15.     Unlike more conventional advertisements, SMS message advertisements can

actually cost their recipients money because wireless phone users must pay their wireless service

providers either for each text message call they receive or incur a usage allocation deduction to

their text messaging plan, regardless of whether the message is authorized.

       16.     Due to the growing concern over unwanted SMS message advertisements, the

Federal Communications Commission (“FCC”) updated its rules on consent.

       17.     As of October 16, 2013, senders of SMS message advertisements for goods or

services must obtain the recipient’s prior express written consent.

Defendant’s Unsolicited SMS Message Advertisements to Plaintiff and the Class

       18.     As part of its advertising campaign, Defendant has sent and continues to send

unsolicited text messages to Plaintiff’s and the Class members’ wireless phones without prior

express written consent.

       19.     At all relevant times, Plaintiff was and is the owner of the wireless telephone

number ending in 8761.

       20.     On or around September 27, 2017, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting tickets to

Tampa Bay Rays baseball games:

               The final Rays series of
               the 2017 season begins
               Friday night. Join us at
               the ballpark! http://
               atmlb.com/2xD1wAd
               Reply STOP to cancel

(A true and correct copy of the text message is attached as Exhibit 1.)

       21.     The “from” field of the transmission was identified as 420-86.

       22.     Defendant and its agents use the short code 420-86 to send text messages.



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       23.     When     entered     into   an    Internet    browser,     the   website    address

“http://atmlb.com/2xD1wAd” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/tickets/single-game-tickets”, where the recipient may purchase

Tampa Bay Rays baseball game tickets.

       24.     On or around November 15, 2017, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting ticket bundles

to Tampa Bay Rays baseball games:

               Holiday Flex Packs are
               on sale now! Get 5
               tickets for $75 and a
               Rays Fleece Blanket
               with each pack.
               #RaysUp http://
               atmlb.com/2juGz5H
               Text STOP to cancel

(A true and correct copy of the text message is attached as Exhibit 2.)

       25.     The “from” field of the transmission was identified as 420-86.

       26.     Defendant and its agents use the short code 420-86 to send text messages.

       27.     When     entered     into   an    Internet    browser,     the   website    address

“http://atmlb.com/2juGz5H” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/tickets/packs?partnerID=131BA62R41J-16I”, where the recipient

may purchase five-ticket bundles for Tampa Bay Rays baseball games.

       28.     On or around November 27, 2017, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting ticket bundles

to Tampa Bay Rays baseball games:




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               TODAY ONLY: Purchase
               a Flex Pack (5 tickets for
               $75) & get an Archer
               Emoji Pillow with your
               Rays Fleece Blanket!
               http://atmlb.com/
               2ibzHdj Text STOP to
               cancel

(A true and correct copy of the text message is attached as Exhibit 3.)

       29.     The “from” field of the transmission was identified as 420-86.

       30.     Defendant and its agents use the short code 420-86 to send text messages.

       31.     When     entered     into    an    Internet   browser,     the   website    address

“http://atmlb.com/2ibzHdj” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/tickets/packs?partnerId=1A7VA16321-9C1F”, where the recipient

may purchase five-ticket bundles for Tampa Bay Rays baseball games.

       32.     On or around January 19, 2018, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting tickets to

Tampa Bay Rays spring training games:

               Baseball is nearly here
               so don’t miss any of the
               action! Rays Spring
               Training single game
               Tickets are on sale now.
               http://atmlb.com/
               2mSPrRz Text STOP to
               cancel

(A true and correct copy of the text message is attached as Exhibit 4.)

       33.     The “from” field of the transmission was identified as 420-86.

       34.     Defendant and its agents use the short code 420-86 to send text messages.

       35.     When     entered     into    an    Internet   browser,     the   website    address

“http://atmlb.com/2mSPrRz” redirects the recipient of the text message to the website

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“https://www.mlb.com/rays/tickets/spring-training?partnerId=1M1EN16Q541-9#component-

209141180”, where the recipient may purchase tickets to Tampa Bay Rays spring training

baseball games.

       36.     On or around February 7, 2018, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting the Tampa

Bay Rays twentieth anniversary celebration:

                  Join the Rays as we
                  celebrate the 20th
                  anniversary of Rays
                  baseball with events all
                  year long! http://
                  atmlb.com/2BOpkjx
                  Text STOP to cancel

(A true and correct copy of the text message is attached as Exhibit 5.)

       37.     The “from” field of the transmission was identified as 420-86.

       38.     Defendant and its agents use the short code 420-86 to send text messages.

       39.     When       entered    into    an    Internet   browser,    the   website    address

“http://atmlb.com/2BOpkjx” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/fans/20th-anniversary?partnerId=31165SZ5VB1K-39”, where the

recipient may learn about Tampa Bay Rays twentieth anniversary promotional events, and

purchase ticket bundles for Tampa Bay Rays baseball games and Tampa Bay Rays team

merchandise.

       40.     On or around February 9, 2018, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting a Tampa Bay

Rays fan event:




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               Fan Fest is tomorrow!
               Help us lead off the
               start of the season at
               Tropicana Field from
               11am-4pm. http://
               atmlb.com/2EJEoll Text
               STOP to cancel

(A true and correct copy of the text message is attached as Exhibit 6.)

       41.     The “from” field of the transmission was identified as 420-86.

       42.     Defendant and its agents use the short code 420-86 to send text messages.

       43.     When     entered     into   an    Internet    browser,     the   website    address

“http://atmlb.com/2EJEoll” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/fans/fan-fest?partnerId=D1916U55M1Q-T41”, where the recipient

may learn about a Tampa Bay Rays fan event.

       44.     On or around February 16, 2018, Defendant transmitted or directed to be

transmitted an unsolicited text message to Plaintiff’s wireless telephone promoting Tampa Bay

Rays baseball game tickets:

               Batter up! Single Game
               Tickets are on sale now
               exclusively through
               raysbaseball.com. Get
               your tickets today!
               http://atmlb.com/
               2C3DCRG Text STOP to
               cancel

(A true and correct copy of the text message is attached as Exhibit 7.)

       45.     The “from” field of the transmission was identified at 420-86.

       46.     Defendant and its agents use the short code 420-86 to send text messages.

       47.     When     entered     into   an    Internet    browser,     the   website    address

“http://atmlb.com/2C3DCRG” redirects the recipient of the text message to the website



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“https://www.mlb.com/rays/tickets/single-game-tickets?partnerId=71A6Y56XA1-1R88”, where

the recipient may purchase Tampa Bay Rays baseball game tickets.

       48.      On or around March 22, 2018, Defendant transmitted or directed to be transmitted

an unsolicited text message to Plaintiff’s wireless telephone promoting Tampa Bay Rays baseball

game tickets:

                Opening Day is one
                week away! Get your
                tickets now and join the
                Rays for the start of the
                2018 season. http://
                atmlb.com/2HTrLoi Text
                STOP to cancel

(A true and correct copy of the text message is attached as Exhibit 8.)

       49.      The “from” field of the transmission was identified as 420-86.

       50.      Defendant and its agents use the short code 420-86 to send text messages.

       51.      When     entered    into    an    Internet   browser,     the    website    address

“http://atmlb.com/2HTrLoi” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/tickets/single-game-tickets?partnerId=BZ1VZ916531-150W”,

where the recipient may purchase Tampa Bay Rays baseball game tickets.

       52.      On or around March 29, 2018, Defendant transmitted or directed to be transmitted

an unsolicited text message to Plaintiff’s wireless telephone promoting the 2018 season opening

baseball game for the Tampa Bay Rays:

                Happy Opening Day
                2018! The Rays season
                begins today at 4:00pm
                as they take on the
                Boston Red Sox. Game
                info: https://bit.ly/
                2GXec8h Text STOP to
                cancel

(A true and correct copy of the text message is attached as Exhibit 9.)
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       53.      The “from” field of the transmission was identified as 420-86.

       54.      Defendant and its agents use the short code 420-86 to send text messages.

       55.      When     entered    into   an    Internet   browser,       the   website    address

“https://bit.ly/2GXec8h” redirects the recipient of the text message to the website

“https://raytank.mlblogs.com/heres-what-s-happening-on-opening-day-2018-4e12bb8ad4dd?part

nerId=X13QBA16721-0”, a blog post by the official blog of the Tampa Bay Rays providing

information about the first Tampa Bay Rays baseball game for the 2018 season.

       56.      On or around April 27, 2018, Defendant transmitted or directed to be transmitted

an unsolicited text message to Plaintiff’s wireless telephone promoting Tampa Bay Rays baseball

game tickets:

                Today only: $20-Press
                Level tickets for Blue
                Jays vs. Rays matchup
                on Saturday, May 5 at
                6:10! https://
                atmlb.com/2qYO85D
                Text STOP to cancel

(A true and correct copy of the text message is attached as Exhibit 10.)

       57.      The “from” field of the transmission was identified as 420-86.

       58.      Defendant and its agents use the short code 420-86 to send text messages.

       59.      When     entered    into   an    Internet   browser,       the   website    address

“https://atmlb.com/2qYO85D” redirects the recipient of the text message to the website

“https://www.mlb.com/rays/tickets/specials/steal-of-the-day?partnerId=5167Z61B-3I9A”, where

the recipient may purchase Tampa Bay Rays baseball game tickets at a discounted rate.

       60.      Defendant sent or transmitted, or had sent or transmitted on its behalf, the same

(or substantially the same) text messages en masse to a list of thousands of wireless telephone

numbers or randomly generated phone numbers.

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       61.     On information and belief, Defendant sent these text messages to Plaintiff and the

Class members using equipment that had the capacity to store or produce telephone numbers to

be called using a random or sequential number generator, and to dial such numbers.

       62.     Plaintiff and the Class members never consented to in writing, requested, or

otherwise desired or permitted Defendant to send or transmit text messages to their wireless

phones.

                             V.    CLASS ALLEGATIONS

       63.     Plaintiff brings this action, as set forth below, on behalf of himself and as a class

action pursuant to the provisions of Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil

Procedure on behalf of a class defined as:

               All individuals in the United States to whose wireless telephones
               Defendant, or someone on its behalf, sent a non-emergency,
               unsolicited text message through the use of an automatic dialing
               system, at any time within the four years prior to the filing of this
               action (the “Class”).

Excluded from the Class are Defendant and its subsidiaries and affiliates; all persons who make a

timely election to be excluded from the Class; governmental entities; and the judge to whom this

case is assigned and any immediate family members thereof.

       64.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of his claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

       65.     Numerosity – Federal Rule of Civil Procedure 23(a)(1). The members of the

Class are so numerous that individual joinder of all Class members is impracticable. On

information and belief, there are thousands of consumers who have been damaged by

Defendant’s wrongful conduct as alleged herein. The precise number of Class members and their

addresses is presently unknown to Plaintiff, but may be ascertained from Defendant’s books and

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records. Class members may be notified of the pendency of this action by recognized, Court-

approved notice dissemination methods, which may include U.S. mail, electronic mail, Internet

postings, and/or published notice.

       66.      Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact, which predominate over

any questions affecting individual Class members, including, without limitation:

             a. the manner in which Defendant obtained Plaintiff’s and the Class’ wireless
                telephone numbers;

             b. whether the equipment Defendant used to send the text messages in
                question was an automatic telephone dialing system as contemplated by
                the TCPA;

             c. whether Defendant’s conduct constitutes a violation of the TCPA;

             d. whether Plaintiff and the Class are entitled to actual, statutory, or other
                forms of damages, and other monetary relief and, in what amount(s);

             e. whether Defendant’s conduct was willful or knowing;

             f. whether Plaintiff and the Class are entitled to treble damages based on the
                willfulness of Defendant’s conduct; and

             g. whether Plaintiff and the Class are entitled to equitable relief, including
                but not limited to injunctive relief and restitution.

       67.      Typicality – Federal Rule of Civil Procedure 23(a)(3). Plaintiff’s claim is

typical of the other Class members’ claims because, among other things, all Class members were

comparably injured through the uniform prohibited conduct described above.

       68.      Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4).

Plaintiff is an adequate representative of the Class because his interests do not conflict with the

interests of the other Class members he seeks to represent; he has retained counsel competent

and experienced in complex commercial and class action litigation; and Plaintiff intends to




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prosecute this action vigorously. The interests of the Class members will be fairly and adequately

protected by Plaintiff and his counsel.

       69.     Declaratory and Injunctive Relief – Federal Rule of Civil Procedure 23(b)(2).

Defendant has acted or refused to act on grounds generally applicable to Plaintiff and the other

Class members, thereby making appropriate final injunctive relief and declaratory relief, as

described below, with respect to the Class as a whole.

       70.     Superiority – Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiff and the other Class members are

relatively small compared to the burden and expense that would be required to individually

litigate their claims against Defendant, so it would be impracticable for Class members to

individually seek redress for Defendant’s wrongful conduct. Even if Class members could afford

individual litigation, the court system could not. Individualized litigation creates a potential for

inconsistent or contradictory judgments, and increases the delay and expense to all parties and

the court system. By contrast, the class action device presents far fewer management difficulties,

and provides the benefits of single adjudication, economy of scale, and comprehensive

supervision by a single court.

                                 VI.   CLAIMS ALLEGED

                                           COUNT I
                            Violation of the TCPA, 47 U.S.C. § 227
                                    (On behalf of the Class)

       71.     Plaintiff incorporates by reference paragraphs 1-70 as if fully set forth herein.




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       72.     Defendant and/or its agents sent unsolicited commercial text messages to the

wireless telephone number of Plaintiff and the other Class members en masse without their prior

express written consent.

       73.      Defendant sent the text messages, or had them sent on its behalf, using equipment

that had the capacity to store or produce telephone numbers to be called using a random or

sequential number generator, and to dial such numbers.

       74.     Defendant utilized equipment that sent the text messages to Plaintiff and other

Class members simultaneously and without human intervention.

       75.     By sending the unsolicited text messages to Plaintiff and the Class, Defendant has

violated 47 U.S.C. § 227(b)(1)(A)(iii).

       76.     As a result of Defendant’s unlawful conduct, the Class members suffered actual

damages in the form of invasion of privacy, nuisance, and monies paid to receive the unsolicited

text messages on their wireless phones.

       77.     Under section 227(b)(3)(B), Plaintiff and the Class members are each entitled to,

inter alia, a minimum of $500.00 in damages for each such violation of the TCPA.

       78.     Should the Court determine that Defendant’s conduct was willful or knowing, the

Court may, pursuant to section 227(b)(3)(C), treble the amount of statutory damages recoverable

by Plaintiff and the other Class members.

                                   VII.   JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all

claims in this Complaint so triable.

                           VIII.      REQUEST FOR RELIEF

       WHEREFORE, Plaintiff James Thomas, individually and on behalf of the members of

the Class proposed in this Complaint, respectfully requests that the Court enter an Order as

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follows:

       A.   Certifying the Class as defined above, appointing Plaintiff as the
            representative of the Class, and appointing his counsel as Class Counsel;

       B.   Finding Defendant liable for violating the TCPA;

       C.   Awarding of actual or statutory damages;

       D.   Requiring Defendant to cease all text message activities initiated without
            prior express written consent, and otherwise protecting the interests of the
            Class;

       E.   Awarding of reasonable attorneys’ fees and costs; and

       F.   Awarding such other and further relief that the Court deems reasonable and
            just.


Dated: May 17, 2018                                Respectfully submitted,

                                                   /s/ Benjamin W. Raslavich
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                                                   *Pro Hac Vice to be submitted

                                                   Counsel for Plaintiff
                                                   and the Proposed Putative Class


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